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     RICOH CO., LTD.
14

15                              UNITED STATES DISTRICT COURT

16                             NORTHERN DISTRICT OF CALIFORNIA

17                                 SAN FRANCISCO DIVISION

18   ASUSTEK COMPUTER INC. and ASUS                 Case No. C07-01942 MHP
     COMPUTER INTERNATIONAL
19                                                  [proposed] ORDER GRANTING RICOH’S
                                      Plaintiffs,   ADMINISTRATIVE MOTION FOR
20                                                  LEAVE TO FILE DOCUMENTS UNDER
            vs.                                     SEAL
21
     RICOH COMPANY, LTD.,
22                                                  Judge:   Honorable Marilyn Hall Patel
                                     Defendant.     Dept.:   Ctrm 15, 18th Floor
23

24
     AND RELATED CROSS-ACTIONS.
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     [proposed] ORDER GRANTING VERIGY’S ADMINISTRATIVE
     MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL                    CASE NO. C07 01942 MHP
        Case 3:07-cv-01942-MHP Document 97 Filed 11/26/08 Page 2 of 2



 1          Now before the Court is Ricoh’s Administrative Motion for Leave to File Documents

 2   Under Seal. Upon consideration of the Administrative Motion for Leave to File Documents Under

 3   Seal and the supporting declaration of Donald P. Gagliardi filed therewith, the Court finds good

 4   cause for granting Ricoh’s request to file documents under seal. The Court finds that:

 5                  a.      The parties possess an overriding confidentiality interest that overcomes the

 6   right of public access to the record in the following documents: Confidential Patent License

 7   Agreement between Ricoh Company, Ltd. and ASUSTeK Computer, Inc. dated September 9,

 8   2008; and Confidential Settlement Agreement between Ricoh Company, Ltd. and ASUSTeK

 9   Computer, Inc. dated September 9, 2008

10                  b.      The parties’ overriding confidentiality interests support sealing the record;

11                  c.      A substantial probability exists that the parties’ overriding confidentiality

12   interest will be prejudiced if the record is not sealed;

13                  d.      The proposed sealing is narrowly tailored; and

14                  e.      No less restrictive means exist to achieve this overriding interest.

15          IT IS ORDERED that Ricoh’s Motion for Leave to File Documents Under Seal is

16   GRANTED.
                                                                           ISTRIC
17   SO ORDERED.                                                      TES D      TC
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18   Dated: 11/25                   , 2008                        ______                      U
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                                                                  Hon. Marilyn Hall
                                                        UNIT




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     [proposed] ORDER GRANTING VERIGY’S ADMINISTRATIVE
     MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL                                   CASE NO. C07 01942 MHP
